             Case
              Case5:16-mc-80006-PSG
                    5:16-mc-80006-PSG Document
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 1                                    UNITED STATES DISTRICT COURT
 2                                   NORTHERN DISTRICT OF CALIFORNIA
 3                                                  )
     IN RE: EX PARTE APPLICATION
     OF QUALCOMM, INC.                              )   Case No:     5:16-MC-80006 PSG
 4                                                  )
                                                    )   APPLICATION FOR
 5                                                  )   ADMISSION OF ATTORNEY
                                                    )   PRO HAC VICE
 6   This document relates to:                      )   (CIVIL LOCAL RULE 11-3)
                                                    )
 7   ALL ACTIONS                                    )
                                                    )
 8
          I, Ian Simmons, an active member in good standing of the bar of the District of Columbia, hereby
 9
     respectfully apply for admission to practice pro hac vice in the Northern District of California representing:
10   Samsung Electronics America, Inc., Samsung Electronics Co., Ltd. and Samsung Telecommunications
     America, LLC in the above-entitled action. My local co-counsel in this case is Michael Tubach, an attorney
11   who is a member of the bar of this Court in good standing and who maintains an office within the State of
     California.
12
       MY ADDRESS OF RECORD:                                    LOCAL CO-COUNSEL'S ADDRESS OF RECORD:
13     1625 Eye St., N.W.                                       Two Embarcadero Center, 28th Floor
       Washington, D.C. 20006                                   San Francisco, CA 94111-3823
14
       MY TELEPHONE # OF RECORD:                                LOCAL CO -C OUNSEL' S TELEPHONE # OF RECORD:
       (202) 383-5300                                           (415) 984-8700
15
       MY EMAIL ADDRESS OF RECORD:                              LOCAL CO-COUNSEL'S EMAIL ADDRESS OF RECORD:
       isimmons@omm.com                                         mtubach@omm.com
16
           I am an active member in good standing of a United States Court or of the highest court of another State
17    or the District of Columbia, as indicated above; my bar number is: 439645.
          A true and correct copy of a certificate of good standing or equivalent official document from said bar is
18    attached to this application.
19        I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the Standards of
      Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20        I declare under penalty of perjury that the foregoing is true and correct.

21    Dated: January 26, 2016                                      /s/ Ian Simmons
                                                                                         APPLICANT
22
23
                                          ORDER GRANTING APPLICATION
24                                 FOR ADMISSION OF ATTORNEY PRO HAC VICE

25        IT IS HEREBY ORDERED THAT the application of Ian Simmons                                   is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel designated in
27   the application will constitute notice to the party.

28   Dated: January 26, 2016
                                                                UNITED STATES DISTRICT/MAGISTRATE JUDGE


     PRO HAC VICE APPLICATION & ORDER                                                                   October 2012
